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                                    E. NULLIFICATION

       1.     In the event the Court does not approve this Second Interim Fee Stipulation, the

Parties shall meet and confer in good faith to determine whether to agree upon a modified

Second Interim Fee Stipulation. If they are unable to do so, this Second Interim Fee Stipulation

shall become null and void.



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Dated: New York, New York
       April ____ , 2019

                                                   SO ORDERED:

                                                   ____________________________________
                                                   HONORABLE ANALISA TORRES
                                                   United States District Judge
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